 

Case: 1:17-cv-00180 Document #: 2 Filed: eer. Page 1 of 1 PagelD #:8
ILND 44 (Rev. 07/13/16) CIVIL COVER SHEE

The J§ 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as

provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

 

I. (a) PLAINTIFFS DEFENDANTS
Jordan Vargas City of Chicago, et al.
(b) County of Residence of First Listed Plaintiff . _ County of Residence of First Listed Defendant _. _
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF

THE TRACT OF LAND INVOLVED.

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)

Mottweiler & Smolens, LLP
1627 West Colonial Parkway, Suite 301
Inverness, IL 60067 773-580-4982

 

 

II. BASIS OF JURISDICTION (Place an “X" in One Box Only) Wi. CITIZENSHIP OF PRINCIPAL PARTIES (Piace an “x” in One Hox for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O11. USS. Government 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State im 0 1 Incorporated or Principal Place O4 4
of Business Tn This State
(2 U.S. Government ()4 Diversity Citizen of Another State O2 OD 2 _ Incorporated and Principal Place Os 05
Defendant (Indicate Citizenship of Parties in [tem TI) of Business In Another State
Citizen or Subject of a O3 OD 3 Foreign Nation Oe 6

 

Foreign Country

IV. NATURE OF SUIT (Piece an “x” in One Box O

   
 

 
   

   
     

0110 Insurance PERSONAL INJURY PERSONAL INJURY (1625 Drug Related Seizure (422 Appeal 28 USC 158 UO) 375 False Claims Act
0 120 Marine 0 310 Airplane 0 365 Personal Injury - of Property 21 USC 881 | [423 Withdrawal C1 376 Qui Tam (31 USC
130 Miller Act 0 315 Airplane Product Product Liability (1690 Other 28 USC 157 3729 (a))
2 140 Negotiable Instrument Liability DD 367 Health Care/ 1 400 State Reapportionment
7150 Recovery of Overpayment |] 320 Assault, Libel & Pharmaceutical 0 i VES et 410 Antitrust
& Enforcement of Judgment Slander Personal Injury (1820 Copyrights E) 430 Banks and Banking
1151 Medicare Act ( 330 Federal Employers’ Product Liability [1 830 Patent 0 450 Commerce
(0 152 Recovery of Defaulted Liability (1 368 Asbestos Personal (1 840 Trademark C1 460 Deportation
Student Loans OO 340 Marine Injury Product DD 470 Racketeer Influenced and
(Excludes Veterans) 1) 345 Marine Product Liability a a HWE i Corrupt Organizations
(153 Recovery of Liability PERSONAL PROPERTY |(1710 Fair Labor Standards 1861 HIA (1395 ff) O 480 Consumer Credit
Veteran’s Benefits (0 350 Motor Vehicle DD 370 Other Fraud Act C862 Black Lung *fo23) C1 490 Cable/Sat TV
C2 160 Stockholders’ Suits (0 355 Motor Vehicle OD 371 Truth in Lending (4720 Labor/Management 1863 DIWC/DIWW (405(g)) | (2) 850 Securities/Commodities/
C1 190 Other Contract Product Liability C) 380 Other Personal Relations (1 864 SSID Title XVI Exchange
(1195 Contract Product Liability |[] 360 Other Personal Property Damage (1740 Railway Labor Act [1865 RSI (405(g)) () 890 Other Statutory Actions
(21196 Franchise Injury (1 385 Property Damage (1751 Family and Medical OO 895 Apricultural Acts
(0 362 Personal Injury - Product Liability Leave Act (0 893 Environmental Matters

Medical Malpractice (790 Other Labor Litigation (] 895 Freedom of Information
Te (1791 Employee Retirement i Act

      

 

 

 

 

 

 

 

 

 

 

oO 210 Land Condemnation 440 Other Civil Rights {J 510 Motions to Vacate Income Security Act (7870 Taxes (U.S. Plaintiff CO 896 Arbitration
[1 220 Foreclosure CJ 441 Voting Sentence or Defendant) 0 899 Administrative Procedure
(11 230 Rent Lease & Ejectment OO 442 Employment Habeas Corpus: (871 IRS-Third Party Act/Review or Appeal of
(J 240 Torts to Land 1 443 Housing/ (J 530 General 26 USC 7609 Agency Decision
(11245 Tort Product Liability Accommodations (1 535 Death Penalty (0 950 Constitutionality of
(290 All Other Real Property OO 445 Amer, w/Disabilities |] 540 Mandamus & Other State Statutes
Employment 0) 550 Civil Rights [462 Naturalization ‘Application
O 446 Amer. w/Disabilities |) 555 Prison Condition (463 Habeas Corpus -
Other LD 560 Civil Detainee - Alien Detainee
C1 448 Education Conditions of (Prisoner Petition)
Confinement (1465 Other Immigration
Actions
V. ORIGIN (Place an “X" in One Box Only) Transferred from Multidistrict Multidistrict
1 Original 2 Removed from 3 Remanded from 4 Reinstated or 5 Another District 6 Litigation- 8 Litigation -
Proceeding State Court Appellate Court Reopened (opucify) Transfer Direct File
V1. CAUSE OF ACTION (Enter U.S. Civil Statute under which you are [VIL Previous Bankruptcy Matters (For nature of suit 422 and 423, enter the case
filing and write a brief statement of cause.) number and judge for any associated bankruptcy matter previously adjudicated by a judge of
, . this Court. Use a separate attachment if necessary.)
Section 1983 excessive force
VII. REQUESTED IN CJ CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P.

250,000 JURY DEMAND: Myes C1 No

TX. RELATED C ASE(S) (See instructions):
IF ANY JUDGE eC DOCKET NUMBER

 

 

X. This case (check one box) {M Is not a refiling of a previously dismissed action CJ isarefiling of case pumber__—_—SCsoprevioyg Jed by Judge.

DATE 1/10/17 SIGNATURE OF ATTORNEY OF RECORD LX Lez ra (O

   
